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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE []5 JUH -8 PH 3: 35

WESTERN DIVISION
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J|-` ‘§'€, ‘.`. J._t. J.
JAMES A' CL ’ W.U. O'F TH, MEMPHIS
Plaintiff,
v. No. 03-2977

J. KENENS, et al.,

Defendants.

 

ORDER OF DISMISSAL WITH PREJUDICE

 

On December 24, 2003, the Plaintiff, J ames A. Clark, initiated this action pro § against the
l\/Iillington Police Department and many of its officers. Less than a month later, Plaintiff filed a
notice with the Court indicating that his address had changed and provided the new address On
April 2, 2004, Plaintiff again notified the Clerl<’s office of an address change After Clarl< failed to
respond to discovery requests and appear at a deposition, Defendant, Gerald Stubbs, filed two motion
on separate occasions to dismiss due to Plaintiff’s failure to cooperate in the discovery process This
Court referred both motions to the magistrate judge for a report and recommendationl

With respect to the first motion, l\/[agistrate Judge S. Thomas Anderson recommended that
the motion to dismiss be denied. This Court adopted that recommendation and gave Plaintiff ti fteen
days to provide Written responses to the Defendant’s discovery requests and appear for a deposition
After the Plaintiff failed to comply vvith the Court’s directive, Stubbs filed his second motion to
dismiss based on Pla`intiff’ s failure to cooperate in discovery ln his March 18, 2005 report, Jud ge

Anderson found that Plaintiff had not received some of the Court’s orders as evidenced by docket

Thls document entered on the docket she in : .
with Ftute 58 and/or 79(a) FP.CP on 12 _

   

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returned to the Court as undeliverable. Thus, the magistrate judge ordered that the Court’s file
reflect Clark’s current address and attempt to deliver the mailings that had been returned However,
all of the re-mailed documents were returned to the Court as undeliverable including the magistrate
judge’s report and recommendation of March 18, 2005. After the mail was returned to the Court,
Judge Anderson issued another report on l\/Iay l9, 2005 and recommended that the Defendant’s
motion be granted based on the Plaintiff’ s failure to provide the Court with a current address and
cooperate in the discovery process

Rule 4l(b) provides for dismissal of actions “[f]or failure of the plaintiff to prosecute or to
comply with [the Federal Rules of Civil Procedure] or any order of court . . .“ Fed. R. Civ. P. 4l (b).
A Rule 4l(b) dismissal “operates as an adjudication upon the merits.” § The authority to dismiss
a case under Rule 41 (b) "is available to the district court as a tool to effect management of its docket
and avoidance of unnecessary burdens on the tax-supported courts and opposing parties.” Knoll v.
American Tel. & Tel. Co., 176 F.3d 359, 363 (()th Cir. 1999), reh’g ami suggestion § reli’g g banc
denied (June 30, 1999) (citations and internal quotations omitted). The Supreme Court has
recognized that

[n]either the permissive language of the Rule -- which merely authorizes a motion by

the defendant -- nor its policy requires us to conclude that it was the purpose of the

Rule to abrogate the power of courts, acting on their own initiative, to clear their

calendars of cases that have remained dormant because of the inaction or dilatoriness

of the parties seeking relief. The authority of the court to dismiss sua sponte for lack

of prosecution has generally been considered an “inherent power,” governed not by

rule or statute but by the control necessarily vested in courts to manage their own

affairs so as to achieve the orderly and expeditious disposition of cases.

Linl< v. Wabas}i R.R. Co., 370 U.S. 626, 630-3l, 82 S.Ct. l386, 1388-89, 8 L.Ed.Zd 734 (1962).

District courts are permitted substantial discretion in determining whether dismissal is appropriate

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Knoll, 176 F.3d at 363', Harmon v. CSX Transp., lnc., 110 F.3d 364, 366 (6th Cir. 1997), cert.

 

d_eLiQd, 522 U.S. 868, 118 S.Ct. 178, 139 L.Ed.2d 119 (1997).

The Sixth Circuit has articulated four factors to be addressed by the court in assessing
whether dismissal for failure to prosecute is warranted: (1) whether the party’ s failure was the result
of willfulness, bad faith, or fault', (2) whether the opposing party suffered prejudice due to the party’s
conduct', (3) Whether the dismissed party was warned that failure to cooperate could lead to
dismissal; and (4) whether less drastic sanctions were imposed or considered before dismissal was
ordered Mulbah v. Detroit Bd. ofEduc., 261 F.3d 586, 589 (6th Cir. 2001). Prior notice to the party
that his failure to cooperate may result in dismissal is important to support the sanction yM_
Consolidated Rail Co§p., 927 F.2d 287, 288 (6th Cir. 1991) (per curiam).

ln this case, as outlined above, the Plaintiff has made no effort whatsoever to move this case
forward and indeed appears to have chosen to disregard it altogether. Plaintiff has not participated
in discovery and has not filed any pleadings in almost a year. Clearly, the necessity of monitoring
a case that the Plaintiff has permitted to languish indefinitely works some hardship on the
Defendants. Furthermore, in ruling on the Defendant’s first motion to dismiss, the magistrate judge
explicitly warned the Plaintiff that his case may be dismissed if he failed to engage in discovery,
submit to a deposition, and comply with the Federal Rules of Civil Procedure. Finally, under the
circumstances, the Court finds that no sanction short of dismissal will cure the Plaintiff‘s failure to
prosecute this matter. Because the Court has no way of communicating with the Plaintiff regarding
scheduling and proceeding with this case, it finds that dismissal is appropriate Moreover, the
Plaintiff is well aware of how to provide the Clerk’s office with a current address ashe has changed

it on two previous occasions by providing notice. Giving the Plaintiff additional time to comply

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with the Defendant’s discovery request at this j uncture would be futile because Clark appears to have
abandoned his claims against the Defendants. Accordingly, the Court concludes that dismissal of
Plaintiff’ s claim is appropriate

Based on the foregoing, the Plaintiffs lawsuit against all of the Defendants is hereby
DISMISSED with prejudice for failure to prosecute

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lT lS SO ORDERED this §1`_ day ofJune, 2005.

 

J§DAEIEL BREEN \
D srATEs r)isrRiCr rUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 2:03-CV-02977 was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

